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Willy Wong - Settlement of 4 EEQs referenced by number below

Dole, Miriam D - Philadelphia, PA <Miriam.D.Dole@usps.gov>

You;PATRICIA ARAUJO;jdp@pomettolaw.com;Joseph Pometto; LAURENCE GALLAGHER
Patricia, Joe and Willy,

| am happy to report that the parties have now agreed to the settlement terms proposed by
Patricia to settle all four of Willy’s EEO cases. These cases are:

1. EEOC No. 530-2016-00091X, Agency No. 4C-150-0037-15 {set for hearing)

2. OFO No. 0120171489, Agency No. 4C-150-0036-16 (no request for hearing, FAD issued, appealed
to OFO)

3. Agency No. 4C-1 50-0015-17 (Awaiting Acknowledgement Order)

4. Agency No. 4C-150-0061-18 {Informal)

Thank you so much for your excellent assistance with these 4 cases, Patricia! | will prepare a Settlement
Agreement, get it approved by my supervisor and send it to Joe for his review, so everyone can sign it.
Briefly, the terms of the Settlement Agreement are:

1. The Postal Service will pay the sum of $7,500 to Willy. Willy and Joe can let me know if any of this
amount should go to Joe in a separate check.

2. The Postal Service will conduct in-person training for all employees at the South Hills office, and
online training for Michael Brown, Richard Martonik and Lou Kammermeier, to work toward preventing
future harassment based on race or national origin. Mimi will work out the details of the trainings with
Joe, so that it can be specifically referenced in the Settlement Agreement.

3. Mr. Wong’s live discipline, issued on January 17, 2018, will be removed from his file as of June 30,
2018.

4. Mr. Wong will dismiss all four EEO complaints he has brought, referenced by case number above.
Please confirm, by return email, that these are the terms of the settlement that has been reached today.
Thank you all for the wonderful spirit of cooperation and understanding that | felt yesterday. | hope that
should future problems arise, that we can talk and work things out, together!

Thank you!

Mimi Dole

PLEASE NOTE NEW MAILING ADDRESS:
Miriam Dole

Attorney

United States Postal Service
7300 Lindbergh Blvd., Rm 807

Philadelphia, PA 19153
215-351-3829 office
215-278-5254 mobile
215-351-3851 fax
